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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        2:12-CR-00315-JAM
12                 Plaintiff,
                                                      PRELIMINARY ORDER OF
13          v.                                        FORFEITURE
14   LEE LOOMIS,
15                  Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Lee Loomis, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

19          1.     Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), defendant Lee Loomis’

20 interest in the following property shall be condemned and forfeited to the United States of America, to

21 be disposed of according to law:

22                 a.      Approximately $133,803.53 in U.S. Currency seized from Washington Mutual
                           Bank, N.A., Account #4420842802, held in the name of Advantage Financial
23                         Group Holdings Management LLC, and
24                 b.      Approximately $328,495.75 in U.S. Currency seized from Washington
                           Mutual Bank, N.A., Account #4412174338, held in the name of Loomis Wealth
25                         Solutions LLC.
26          2.     The above-listed property constitutes property, real or personal, derived from proceeds

27 traceable to a violation of 18 U.S.C. § 1343 – Wire Fraud.

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                                                                                     Preliminary Order of Forfeiture
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 1          3.      Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

 2 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.

 3 Marshals Service, in its secure custody and control.

 4          4.      a.      Pursuant to 28 U.S.C. § 2461(c) and Local Rule 171, the United States shall

 5 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 6 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 7 posted for at least 30 consecutive days on the official internet government forfeiture site

 8 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

 9 to any person known to have alleged an interest in the property that is the subject of the order of

10 forfeiture as a substitute for published notice as to those persons so notified.

11                  b.      This notice shall state that any person, other than the defendant, asserting a legal

12 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

13 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

14 within thirty (30) days from receipt of direct written notice, whichever is earlier.

15          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

16 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), in

17 which all interests will be addressed.

18          SO ORDERED this 6th day of May, 2016.

19
                                                            /s/ John A. Mendez       ______________________
20                                                          JOHN A. MENDEZ
                                                            United States District Judge
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                                                                                           Preliminary Order of Forfeiture
